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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION


UNITED STATES OF AMERICA              §
                                      §
v.                                    §        Criminal No. 4:21-cr-00009
                                      §
ROBERT T. BROCKMAN                    §        UNDER SEAL


                  DEFENDANT ROBERT T. BROCKMAN’S
                     PRE-HEARING MEMORANDUM
               REGARDING COMPETENCY DETERMINATION
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                                                  INTRODUCTION

         Defendant        Robert      T.    Brockman          respectfully       submits      this    Pre-Hearing

Memorandum 1 (1) to set out the legal standards for a determination of whether

Mr. Brockman should be found to “presently be suffering from a mental disease or defect

rendering him mentally incompetent to the extent that he is unable to understand the nature

and consequences of the proceedings against him or to assist properly in his defense,”

18 U.S.C. § 4241(a); and (2) to provide an overview of the evidence anticipated to be

presented at the competency hearing. Attached is an Appendix of Relevant Medical Terms.

         Mr. Brockman is 80 years-old and has dementia. All of the medical witnesses agree

that Mr. Brockman has Parkinson’s disease—a neurodegenerative disease that often results

in cognitive impairment or dementia. See Dr. Darby Report, Dkt. No. 78 at 15; Dr. Denney

Report, Dkt. No. 79 at 38; Dr. Dietz Report, Dkt. No. 80 at 44; Dr. Darby Suppl. Report,

Dkt. No. 177 at 10; Dr. Denney Suppl. Report, Dkt. No. 179 at 20. Recent neuroimaging

and testing supports that Mr. Brockman has either or a combination of Parkinson’s disease

dementia, or Alzheimer’s disease dementia.

         Dementia resulting from Parkinson’s disease or Alzheimer’s disease is permanent,

progressive and incurable.

         The neuroimaging evidence of Mr. Brockman’s brain is objective and compelling.

An amyloid positron emission tomography (“amyloid PET”) scan performed on July 28,



         1
            Pursuant to this Court’s October 12, 2021 Order, the competency hearing is scheduled to begin on
November 15, 2021. (Dkt. No. 151). That same Order also established a post-hearing briefing schedule, under which
the parties will file post-hearing briefs by December 6, 2021, and will file post-hearing opposition briefs by December
23, 2021.



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2021, showed “moderate to frequent amyloid neuritic plaques,” a finding consistent with

the presence of Alzheimer’s disease.                 Dr. Wisniewski Report, Dkt. No. 99 at 5;

Dr. Whitlow Report, Dkt. No. 100 at 2-4; Dr. Agronin Report, Dkt. No. 102 at 15, 34-35;

Dr. Ponisio October 25, 2021 Report at 2. 2 An August 24, 2021 fluorodeoxyglucose PET

(“FDG-PET”) scan, performed at the government’s request, similarly showed results

consistent with Alzheimer’s disease. Standing alone, the results of either of these tests

supports a conclusion that Mr. Brockman has Alzheimer’s disease dementia. Combined,

these test portent a devastating outcome for Mr. Brockman: as detailed in the expert

reports, a recent study has concluded that the combined effect on tests such as these

correlates at nearly 100% to post-autopsy findings of Alzheimer’s disease. 3 Dr. Agronin

Suppl. Report, Dkt. No. 172 at 15-16; Dr. Whitlow Suppl. Report, Dkt. No. 174 at 3;

Dr. Wisniewski Suppl. Report, Dkt. No. 175 at 11.

        Notably, the government’s retained neuroradiologist stated that Mr. Brockman’s

FDG-PET scans “show[ ] metabolic findings most consistent with early Alzheimer

dementia . . . .” Dr. Ponisio October 25, 2021 Report at 2 (emphasis added). The clinical

evidence indicates that Mr. Brockman’s dementia has progressed beyond the early

Alzheimer’s stage and is progressing together with Mr. Brockman’s Parkinson’s disease

dementia. But even assuming Mr. Brockman’s dementia is early Alzheimer’s dementia,




        2
         The government’s retained radiologist, Dr. Maria Rosana Ponisio, prepared four reports dated September
1, September 2, September 5, and October 25, 2021. None of these reports were filed with the Court.
        3
          Lesman-Segev OH, et al., Diagnostic Accuracy of Amyloid versus (18) F-Fluorodeoxyglucose Positron
Emission Tomography in Autopsy-Confirmed Dementia, ANN. NEUROL. 89(2):389-401 (2021).



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he nonetheless is a dementia patient who is progressively getting worse every day, and is

presently incompetent to proceed to trial in this complex case.

       Mr. Brockman was first examined by government-retained experts in May of this

year. Subsequently, Mr. Brockman was hospitalized for twelve days with sepsis resulting

from a urinary tract infection, an apparent recurrence of a UTI infection and sepsis that

triggered a similar hospitalization in March. During and after the second hospitalization,

Mr. Brockman experienced repeated episodes of delirium. He was examined by the

defense’s experts in July, where by all accounts he appeared to be in far worse condition

than during the May examinations. Expert reports for the defense were filed on August 6,

2021. The government ultimately raised an issue as to whether the defense experts’

examinations were affected by transitory delirium.          Both sets of experts examined

Mr. Brockman again in October, and the parties filed supplemental expert reports.

       The defense’s expert reports demonstrate that Mr. Brockman has dementia to a

degree that he cannot assist in his defense. This conclusion is supported by the diagnoses

of Mr. Brockman’s treating doctors, as well as by the experiences of counsel and

individuals who are in frequent contact with him.

       The government contends that Mr. Brockman is malingering—either faking or

exaggerating his incompetency. The government has retained four medical experts: (1)

Dr. Robert L. Denney, a forensic psychologist, who supports the government’s position;

(2) Dr. R. Ryan Darby, a neurologist, who stated in his supplemental report that he was

unable to reach a conclusion as to whether Mr. Brockman’s Alzheimer’s dementia makes

him unable to assist in his defense; (3) Dr. Park Dietz, a forensic psychiatrist, who has filed


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three reports, first concluding on August 6, 2021 that Mr. Brockman is malingering, second

stating on October 30, 2021 that he was unable to reach a conclusion regarding

Mr. Brockman’s competency, and then in his third try on November 4, 2021, deciding that

he agreed with Dr. Denney; and (4) Dr. Maria Rosana Ponisio, a radiologist, who prepared

four reports confirming that the FDG-PET and amyloid PET scans were consistent with

evidence of Alzheimer’s dementia. The government has committed to calling Dr. Dietz

and Dr. Darby, but has stated that it will not call Dr. Ponisio, who is now on the defense’s

witness list.

       The allegations in the 39-count Indictment span a nearly forty-year period, with

charges ranging from conspiracy to commit tax evasion to money laundering. Before

Mr. Brockman may be put to trial on these complex and serious charges, the government

must prove that he is able to understand the charges against him and the consequences of

the Indictment, and that he can assist in the preparation and presentation of his defense,

including by meaningful participation at trial. All of this is irretrievably beyond him now.

                                     LEGAL STANDARDS

I.     Whether Mr. Brockman is Competent Must be Assessed Based on His Current
       Mental Capacity

       A competency determination relies solely on the defendant’s competency at the

moment it is being evaluated: “Competency to stand trial at a particular time goes not to

the mental condition existing at the time of the alleged offense; it is concerned solely with

whether the defendant is then able to confer intelligently with counsel and to competently

participate in the trial of his case.” United States v. Collins, 491 F.2d 1050, 1053 (5th Cir.



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1974). Evidence that a defendant was previously competent does not answer whether he

is presently competent. As an “essential consideration in the fairness of the trial,” the Court

must continually assess the defendant’s competency and the possibility of a decline in

cognitive function, from indictment through sentencing. United States v. Swanson, 572

F.2d 523, 526 n.3 (5th Cir. 1978) (explaining competency must be reevaluated “at any time

during or after trial . . . with or without a motion by counsel”). “Even when a defendant is

competent at the commencement of his trial, a trial court must always be alert to

circumstances suggesting a change that would render the accused unable to meet the

standards of competence to stand trial.” Drope v. Missouri, 420 U.S. 162, 181; see also

United States v. Brown, 147 F. Supp. 3d 312, 312-15 (E.D. Pa. 2015) (finding defendant

incompetent to proceed to trial upon reevaluation less than seven months after having

previously found defendant competent).

II.     Before this Case May Proceed, the Government Must Show that
        Mr. Brockman Can Understand the Nature and Consequences of the
        Proceedings Against Him and Assist Meaningfully in His Defense

        Due process guarantees “a defendant’s right not to be tried or convicted while

incompetent to stand trial.” Drope, 420 U.S. at 172. Under longstanding Supreme Court

precedent, the standard for competency to stand trial is “whether [the defendant] has

sufficient present ability to consult with his lawyer with a reasonable degree of rational

understanding—and whether he has a rational as well as factual understanding of the

proceedings against him.” Dusky v. United States, 362 U.S. 402, 402 (1960) (per curiam).

A defendant is incompetent to stand trial if his “mental condition is such that he lacks the




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capacity to understand the nature and object of the proceedings against him, to consult with

counsel, and to assist in preparing his defense . . . .” Drope, 420 U.S. at 171 (1975).

         As the Supreme Court has further stated, “it is not enough for the district judge to

find that the defendant is oriented to time and place and has some recollection of events”

relevant to the prosecution. Dusky, 362 U.S. at 402 (quotation marks and brackets omitted).

Mere “functional competence” is not enough to establish “competence to stand trial.”

Riggins v. Nevada, 504 U.S. 127, 141 (1992) (Kennedy, J., concurring).

         Nor does “competence to stand trial . . . consist merely of passively observing the

proceedings.” Odle v. Woodford, 238 F.3d 1084, 1089 (9th Cir. 2001). “Rather, it requires

the mental acuity to see, hear and digest the evidence, and the ability to communicate with

counsel in helping prepare an effective defense.” Id. (citing Dusky, 362 U.S. at 402).

“Counsel cannot effectively fulfill his role as counselor without the defendant’s ability to

appreciate and weigh information and advise and assist counsel in exploring and presenting

an adequate defense.”              McMurtrey v. Ryan, No. CV-88-844-TUC-WFN, 2003 WL

27385072, at *13 (D. Ariz. Mar. 4, 2003), aff’d, 539 F.3d 1112 (9th Cir. 2008).

         Sections 4241 and 4247 of Title 18 set out the standards and procedures for

determining whether a defendant is incompetent to assist in his defense. 4 Section 4241



         4
           Section 4241(d) further provides: “If, after the hearing, the court finds by a preponderance of the evidence
that the defendant is [incompetent to stand trial] . . . the court shall commit the defendant to the custody of the Attorney
General. The Attorney General shall hospitalize the defendant for treatment in a suitable facility . . . for such a
reasonable period of time, not to exceed four months, as is necessary to determine whether there is a substantial
probability that in the foreseeable future he will attain the capacity to permit the proceedings to go forward . . . .” As
Mr. Brockman will address in full in his post-hearing submission, because the medical evidence is clear that
Mr. Brockman’s condition is degenerative, and that no available treatments can restore Mr. Brockman to competence,
there is no period of time “necessary to determine whether” Mr. Brockman can attain the capacity to stand trial. Thus,
no period of hospitalization for treatment is authorized by this statute, and if the statute were applied to mandate


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provides that the Court shall determine a defendant’s competence by the “preponderance

of the evidence” following a hearing. 18 U.S.C. § 4241(a).                      The government has

acknowledged that it bears the burden of proof. Dkt. No. 113 at 3 (citing United States v.

Hutson, 821 F.2d 1015, 1018 (5th Dir. 1987)).

III.     Whether Mr. Brockman is Competent Must be Assessed Based on Factors
         Specific to His Cognitive Condition in the Context of this Proceeding

         A.      Courts Have Identified a Range of Factors to be Considered in
                 Determining a Defendant’s Competency

         To safeguard Mr. Brockman’s fundamental constitutional rights, this court must

determine whether he is competent to understand the proceedings against him and

meaningfully assist at every stage.            Courts have recognized that, as a baseline, a

competency evaluation requires consideration of whether the defendant has:

              • “the ability to decide objectively whether to exercise his constitutional right

                 to take the stand, and if he does take the stand, the ability to testify in an

                 intelligent, coherent and relevant manner”;

              • “the ability to remain sufficiently alert and responsive so as to follow and

                 recognize any discrepancies in the testimony of witnesses”;

              • “the ability to discuss the testimony with his attorneys and to postulate

                 questions to the witnesses through counsel”; and

              • “the ability to consider the wisdom of taking a course other than standing

                 trial on the merits.”


Mr. Brockman’s commitment on these facts, that commitment would violate Mr. Brockman’s Due Process rights.
Jackson v. Indiana, 406 U.S. 715 (1972).



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United States v. Rothman, No. 08-208954-CR, 2010 WL 3259927, at *6 (S.D. Fla. Aug.

18, 2010) (citation omitted); United States v. Silva, 2013 WL 6576788, at *8-10 (D. Utah

July 31, 2013); see also Cooper v. Oklahoma, 517 U.S. 348, 364 (1996) (discussing risk

that incompetent defendant will be unable to exercise “rights deemed essential to a fair

trial,” including decisions about whether to waive trial by jury, take witness stand and

confront accusers, among “myriad smaller decisions concerning the course of his defense”)

(citations omitted).

       Thus in evaluating competency, courts have considered, among other factors, “the

state of the defendant’s memory, since he should be able to relate pertinent facts, names

and events to his attorneys”; whether the defendant has “an adequate ability to review and

evaluate documents and other written evidence bearing on the case”; and whether the

defendant has “an appreciation of the [g]overnment’s evidence against him.” Rothman,

2010 WL 3259927, at *6; see also United States v. Helmsley, 733 F. Supp. 600, 604-05

(S.D.N.Y. 1989) (considering defendant’s ability to provide “assistance in counsel’s cross-

examination of witnesses, in the selection and preparation of defense witnesses, and in the

decision whether the defendant should take the stand”).

       B.     Defense Counsel’s Interaction with Mr. Brockman is a Factor to be
              Considered

       The Supreme Court has recognized that “defense counsel will often have the best-

informed view of the defendant’s ability to participate in his defense.”         Medina v.

California, 505 U.S. 437, 450 (1992). “Because legal competency is primarily a function

of defendant’s role in assisting counsel in conducting the defense, the defendant’s attorney



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is in the best position to determine whether the defendant’s competency is suspect.” Watts

v. Singletary, 87 F.3d 1282, 1288 (11th Cir. 1996).

       C.      The Complexity of the Charges in the                  Indictment    Against
               Mr. Brockman is a Factor to be Considered

       “Although the level of competency mandated by due process does not vary based

on the specific stage of the criminal proceeding, the defendant’s ability to participate or

assist his counsel must be evaluated in light of the type of participation required.” United

States v. Dreyer, 705 F.3d 951, 961 (9th Cir. 2013) (citation omitted).               Thus

Mr. Brockman’s competency should be evaluated in the context of the breadth and

complexity of the charges against him.

       D.      Dementia is a “Mental Disease or Defect” that May Render a Defendant
               Incompetent to Stand Trial

       Dementia—regardless of its cause—is a well-recognized form of incompetence that

impairs a defendant’s ability to understand the proceedings against him and meaningfully

participate in his defense. United States v. Pervis, 937 F.3d 546, 554 (5th Cir. 2019)

(“Various mental defects or diseases may render a defendant incompetent to stand trial,”

including, among others, “vascular dementia.”); United States v. Buckingham, 2020 WL

7238273, at *1 (N.D. Ala. Dec. 9, 2020) (finding defendant suffering from dementia

incompetent to stand trial); Silva, 2013 WL 6576788, at *1 (same); Rothman, 2010 WL

3259927, at *1 (finding defendant suffering from dementia incompetent to proceed to

sentencing).

       Defendants suffering from dementia may lack the “ability to direct [their] attorneys

as to [their] wishes, consider [their] attorney’s advice, and rationally evaluate possible


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courses of action”—hallmarks of an inability to meaningfully assist counsel. Brown, 147

F. Supp. 3d at 325. This may be so even where the defendant “can recall certain facts

(particularly older facts) and perform abstract reasoning,” if his dementia impairs his ability

“to scrutinize the evidence and testimony presented during trial.” Buckingham, 2020 WL

7238273, at *11.

                           SUMMARY OF EVIDENCE TO BE PRESENTED

I.     Defense Evidence

       As noted in the discussion of legal standards, the government bears the burden of

proof to show that Mr. Brockman is competent. In response to the evidence predicted by

the government, the defense expects to present objective medical test results, the testimony

of expert medical witnesses, as well as the experiences of Mr. Brockman’s treating

physicians, defense counsel, and other individuals with recent, close contact with

Mr. Brockman, to rebut the government’s contention that he is competent to understand

the proceedings against him and to assist in his defense.

       A.         Defense Expert Witnesses and Medical Testing

                  1. Dr. Christopher T. Whitlow

       Dr. Christopher T. Whitlow is a neuroradiologist at Wake Forest School of

Medicine. Neuroradiologists are medical doctors that specialize in using various imaging

technologies to diagnose and characterize abnormalities of the brain. 5 Dr. Whitlow’s




       5
           See https://med.stanford.edu/neuroimaging/patients.html (last visited November 10, 2021).



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expert report was filed on August 6, 2021, and his supplemental expert report was filed on

October 29, 2021. Dkt. Nos. 100, 174.

       Dr. Whitlow reviewed nine neuroimaging studies of Mr. Brockman’s brain:

       (1)    November 2, 2018 brain MRI scan conducted as part of Mr. Brockman’s

       medical diagnosis and treatment;

       (2)    February 14, 2019 DaTscan conducted as part of Mr. Brockman’s medical

       diagnosis and treatment;

       (3)    March 12, 2021 FDG-PET scan conducted at the request of the government;

       (4)    June 6, 2021 brain MRI conducted during Mr. Brockman’s hospitalization

       for a urinary tract infection;

       (5)    July 28,2021 amyloid PET scan conducted at the request of the defense;

       (6)    July 30, 2021 brain MRI conducted at the request of the defense;

       (7)    August 24, 2021 FDG-PET scan conducted at the request of the government;

       (8)    September 2, 2021 EEG conducted at the request of the government;

       (9)    September 16, 2021 CT scan images conducted during Mr. Brockman’s

       hospitalization for a urinary tract infection.

Dkt. No. 100 at 1-2; Dkt. No. 174 at 1. Dr. Whitlow also reviewed Neuroreader reports

concerning the 2018 and 2021 brain MRIs, and three reports concerning the July 28, 2021

amyloid PET scan, the March 12, 2021 FDG-PET scan, and the August 24, 2021 FDG-

PET scan, prepared by Dr. Ponisio, a radiologist retained by the government. Dkt. No. 100

at 3-4; Dkt. No. 174 at 4.




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       Dr. Whitlow will testify in support of the findings in his reports that the objective

neuroimaging is “highly suggestive of Alzheimer’s disease” and “support[s] the conclusion

that [Mr. Brockman] likely has Alzheimer’s disease in addition to Parkinson’s disease . . . .”

Dkt. No. 174 at 3.

       In his August 6, 2021 report, Dr. Whitlow determined that the then-available

neuroimaging studies identified structural and functional abnormalities in Mr. Brockman’s

brain, presenting “compelling objective evidence that an underlying neurodegenerative

process is ongoing for Mr. Brockman, with Alzheimer’s dementia representing a very

strong possibility.” Dkt. No. 100 at 5. Dr. Whitlow also found that a comparison of the

2018 MRI and the 2021 MRI showed progressive brain volume loss, and that

Mr. Brockman had profound loss in areas of the brain responsible for important cognitive

functions like learning and memory—findings that are “more compatible with

neurodegenerative diseases associated with cognitive dysfunction and dementia rather than

mild cognitive impairment.” Id. at 3.

       Dr. Whitlow’s October 29, 2021 supplemental report discussed a recent study that

combined qualitative results from amyloid PET scans and FDG-PET scans in diagnosing

Alzheimer’s disease, noting that “in this study, sensitivity and specificity for diagnosis of

Alzheimer’s disease approached 100% compared to gold-standard brain tissue pathology

results when beta-amyloid PET was positive for cortical beta-amyloid and FDG-PET

demonstrated the typical AD hypometabolism pattern.” Dkt. No. 174 at 2-3.

       In other words, when a review of an amyloid PET scan and FDG-PET scan combine

to show the results that are seen in the testing that has been done of Mr. Brockman, there


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is a near-100% correlation with post-autopsy pathological studies of individuals with

Alzheimer’s disease. As summarized by Dr. Whitlow:

        Mr. Brockman’s beta-amyloid PET scan and FDG-PET scan meet the criteria
        of cortical beta-amyloid positivity and Alzheimer’s disease-like anatomical
        pattern of hypometabolism that are highly suggestive of Alzheimer’s disease.
        As such, these imaging findings support the conclusion that he likely has
        Alzheimer’s disease in addition to Parkinson’s disease, and are consistent
        with demonstrated dementia on neuropsychological testing and functional
        decline observed by those who interact with him daily.

Id. at 3.

        Dr. Whitlow may also testify in rebuttal to expert testimony presented by the

government.

                 2. Dr. Thomas Wisniewski

        Dr. Thomas Wisniewski is a neurologist, the Gerald J. and Dorothy R. Friedman

Professor of the New York University Alzheimer’s Disease Center, and the Director of the

Alzheimer’s Disease Center, an Alzheimer’s research centers funded by the U.S. National

Institute of Health.         A neurologist is a medical doctor with specialized training in

diagnosing, treating, and managing disorders of the brain and nervous system, including

Parkinson’s disease and Alzheimer’s disease, among others. 6 Dr. Wisniewski’s expert

report was filed on August 6, 2021, and his supplemental expert report was filed on October

29, 2021. Dkt. Nos. 99, 175.

        Dr. Wisniewski examined Mr. Brockman on October 17, 2021, interviewed

Mr. Brockman’s wife, Dorothy, as well as his caregiver, Frank Gutierrez, and reviewed the


        6
                See        https://www.aan.com/tools-and-resources/medical-students/careers-in-neurology/what-is-a-
neurologist/ (last visited November 10, 2021).



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neuroimaging reports, the examination and testing results of other expert witnesses, and

other medical records. Dkt. No. 99 at 1-3; Dkt. No. 175 at 1-5.

       Dr. Wisniewski is expected to testify that Mr. Brockman’s “principal diagnoses are

Parkinson’s disease dementia (with associated depression) and co-occurring Alzheimer’s

disease.” Dkt. No. 175 at 10; Dkt. No. 99 at 4-5. The consequences for Mr. Brockman’s

cognition have already been severe. As stated in Dr. Wisniewski’s October 29, 2021

supplemental report:

       Repeated examinations have shown evidence of a permanent, progressive
       and irreversible cognitive impairment that is currently in the moderately
       severe stage, with very significant impairments of all activities of daily
       living.

Dkt. No. 175 at 12. Dr. Wisniewski continued:

       As such, it is not possible for Mr. Brockman to provide any accurate
       information regarding relevant, requested facts, dates or specifics.
       Mr. Brockman’s condition will only worsen with time, as is the invariable
       course with all neurodegenerative disorders such as PDD and AD; this
       decline is typically faster with the co-occurrence of these two pathologies.

Id. at 12 (citation omitted). Dr. Wisniewski concluded:

       These cognitive deficits would severely limit his ability to interact with his
       attorneys to any substantive, sustained degree, or to participate meaningfully
       in a courtroom trial.

Id. at 13. Dr. Wisniewski would also testify in support of his conclusion, as stated in his

August 6, 2021 report and reiterated in his October 29, 2021 supplemental report, that there

is no treatment to reverse Mr. Brockman’s condition; rather, Mr. Brockman’s condition is

permanent and progressive, and “contributes to a dismal cognitive decline.” Dkt. No. 99

at 5; Dkt. No. 175 at 12.



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       Dr. Wisniewski is also expected to rebut the government’s contention that

observations by lay witnesses, as well as by the government’s proffered experts,

concerning Mr. Brockman’s conduct somehow undermine the medical conclusion that

Mr. Brockman has dementia: “Mr. Brockman’s somewhat preserved sociability, social

grace, easy communication do not negate the multiple of cognitive domains and that have

been repeatedly tested and demonstrated to be highly impaired.” Dkt. No. 99 at 5.

                  3. Dr. Thomas J. Guilmette

       Dr. Thomas J. Guilmette is a clinical neuropsychologist and professor of psychology

at Providence College. Clinical neuropsychologists study the relationship between the

brain and behavior, particularly as it relates to the diagnosis of brain disorders and the

assessment of cognitive function. 7

       Dr. Guilmette’s expert report was filed on August 6, 2021, and his supplemental

expert report was filed on October 29, 2021. Dkt. Nos. 101, 173. Dr. Guilmette performed

forensic neuropsychological assessments to examine Mr. Brockman’s cognitive abilities

related to his competence to stand trial on July 13-14 and October 2, 2021. He also

conducted interviews with collateral witnesses, and reviewed Mr. Brockman’s medical

records, neuroimaging, and the testing and reports prepared or filed in this matter. Dkt.

No. 101 at 1-59; Dkt. No. 173 at 2-27.

       Dr. Guilmette is expected to testify in support of his diagnosis of “major

neurocognitive disorder (otherwise known as dementia),” and that testing and imaging is



       7
           See https://www.apa.org/ed/graduate/specialize/neuropsychology (last visited November 10, 2021).



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consistent with the co-occurrence of Parkinson’s disease dementia and Alzheimer’s disease

dementia. Dkt. No. 101 at 61-64; Dkt. No. 173 at 3, 30-34. As Dr. Guilmette concludes,

these conditions “are incurable, and carry with it irreversible decline.” Dkt. No. 173 at 43.

        Dr. Guilmette cautions against misinterpreting Mr. Brockman’s continuing facility

in casual conversation, which can mask his undeniable cognitive deficits:

        Because Mr. Brockman’s expressive language abilities, especially his
        vocabulary, remain generally intact and are a relative strength among his
        neuropsychological capabilities, he can often appear quite articulate during
        casual conversation. Like many individuals with dementia whose premorbid
        IQ was above average or even exceedingly high, Mr. Brockman still has
        sufficient cognitive reserve that allows him to speak about some topics in
        detail, particularly those with which he is most familiar such as from his
        business, which is not related to his indictment, and family, that belies his
        actual cognitive capabilities. Furthermore, he continues to exhibit refined
        social skills, which can be misinterpreted as evidence for a normal mental
        status.

Id. at 34. Dr. Guilmette concluded, however, that neuropsychological testing confirms the

severity of Mr. Brockman’s dementia:

        Any perception of Mr. Brockman that presumes cognitive abilities by virtue
        of his less impaired social and conversational skills is inconsistent with the
        reality of his underlying deficits. Yet that may not be immediately evident
        to the observer without proper questioning and assessment.
        Neuropsychological testing can, and has, revealed the severity of his
        cognitive impairments.

Id.

        Dr. Guilmette’s expected testimony will support his conclusions that

Mr. Brockman’s “tested, reported, and demonstrated memory shows an inability to retain

and recall recently learned information, such as personal events, conversations and other

materials,” and that “Mr. Brockman confabulates at times in response to unidentified gaps



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in his memory.” Id. at 3-4; see also id. at 34-37. He observed that Mr. Brockman speaks

in a self-assured manner even when providing unreliable information, and becomes

“intermittently confused” but is unable to inform others of his confusion “because he is

unaware about when he becomes cognitively disengaged from real events.” Id. at 4.

Dr. Guilmette further observed that Mr. Brockman “displays a tendency to be agreeable . . .

[that renders him] vulnerable to leading questions and to respond politely to please a

questioner, even though he may not have a full appreciation for the accuracy of his

responses or the consequences of being led along in questioning.” Id. at 4. As a result of

these cognitive deficiencies, it is Dr. Guilmette’s conclusion that “Mr. Brockman is not

able to assist his attorneys with relevant, requested facts, dates, and details.” Id. at 34.

       Dr. Guilmette’s October 29, 2021 supplemental report noted the decline in

Mr. Brockman’s condition: “Mr. Brockman has only a narrow window of mental stamina

during which he can engage and focus on his surroundings.” Id. at 4. Dr. Guilmette

concluded: “The exact trajectory of Mr. Brockman’s declining abilities is unclear, but what

is certain is that his abilities will continue to weaken and his cognition will continue to

worsen.” Id. at 3.

       Dr. Guilmette’s testimony is also expected to rebut the government’s frequently

advanced conjecture of malingering. Dr. Guilmette will describe how he administered

specific performance validity tests (“PVTs”) to assess potential malingering by

Mr. Brockman. Dkt. No. 101 at 1, 29, 41-44, 72; Dkt. No. 173 at 39-43. Dr. Guilmette’s

expert reports also specifically refute contentions of malingering made by Dr. Denney,

noting that Dr. Denney’s conclusions were based on incorrect interpretations of a limited


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number of PVTs, and that Dr. Denney dismissed without justification the PVTs that

Mr. Brockman passed. Dkt. No. 101 at 25, 75; Dkt. No. 173 at 39-43. As Dr. Guilmette’s

October 29, 2021 supplemental report notes: “Performance validity testing does not

support malingering. The structural and functional neuroimaging data, which cannot be

faked, provide additional confirmation that Mr. Brockman suffers from a genuine

neurodegenerative brain disease.” Dkt. No. 173 at 4.

                 4. Dr. Marc E. Agronin

        Dr. Marc E. Agronin is a board-certified geriatric psychiatrist and has many roles at

Miami Jewish Health, including as the Senior Vice President for Behavioral Health, the

Chief Medical Officer for the MIND Institute, 8 and the Medical Director for Mental Health

and Clinical Research. Geriatric psychiatry is the branch of medicine focused on treating

mental disorders in individuals aged 65 and above as they get older.

        Dr. Agronin’s expert report was filed on August 6, 2021, and his supplemental

expert report was filed on October 29, 2021. Dkt. Nos. 102, 172. Dr. Agronin conducted

a forensic psychiatric evaluation of Mr. Brockman’s cognitive abilities related to his

competency to stand trial that included interview examinations of Mr. Brockman on July

11 and October 3, 2021, and the review of additional sources of data, including medical

records, neuropsychological data, collateral source interviews with six individuals,




        8
          The MIND Institute provides services to individuals experiencing neurocognitive disorders, Alzheimer’s
disease, and memory changes. See https://www.miamijewishhealth.org/leadership/marc-e-agronin/ (last visited
November 9, 2021).



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neuroimaging data, and other expert reports prepared or filed in this matter. Dkt. No. 102

at 2-28; No. 172 at 2-4.

       Dr. Agronin is expected to testify in support of his diagnoses of Parkinson’s disease

dementia and possible comorbid diagnosis of Alzheimer’s disease. Dkt. No. 102 at 28–38;

Dkt. No. 172 at 14-19, 28–38. These diagnoses were based on the objective results of

neuropsychological testing (including testing conducted by the government’s experts),

moderate dementia observed by Dr. Agronin and reported by numerous collateral sources,

and neuroimaging showing brain deterioration with significant findings of neuritic plaques

and brain volume loss. Dkt. No. 102 at 15–18, 28–38; Dkt. No. 172 at 4–19. Dr. Agronin

is expected to testify in support of his conclusion that Mr. Brockman is unable to assist

counsel in his defense due to his enduring and progressive limitations in multiple cognitive

domains, including memory lapses, lack of understanding, disorientation and confusion,

lack of reliability, an inability to reason, and a lack of reliable decision-making, among

other limitations. Dkt. No. 102 at 38-42; Dkt. No. 172 at 20-22.

       Dr. Agronin is also expected to testify in support of the conclusion set out in his

report that Mr. Brockman is not malingering. Dkt. No. 102 at 42–45; Dkt. No. 172 at 19.

As detailed in Dr. Agronin’s August 6, 2021 report, Mr. Brockman’s neuropsychological

test data consistently demonstrates that he suffers from dementia; Mr. Brockman has

attempted to minimize his cognitive failings; and the “record of Mr. Brockman’s numerous

visits to numerous doctors is necessary only to obtain treatment and regain hope of

normalcy, not to simply get a diagnosis and nothing more.” Dkt. No. 102 at 44.




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        Also, as set out in his August 6, 2021 report, Dr. Agronin will refute Dr. Dietz’s

speculative assertion that diagnostic and treating clinicians at Baylor College of Medicine

were biased to find that Mr. Brockman was cognitively impaired based on his purported

VIP status. To the contrary, as Dr. Agronin noted, these doctors consistently “adhered to

standard of care in terms of evaluating individuals with neurocognitive impairment,” and

follow-ups with recommended specialists often did not occur for weeks or months (hardly

suggestive of VIP treatment). Dkt. No. 102 at 33–34. In fact, the most pivotal testing to

support a diagnosis of dementia was recommended by the government’s expert, not a

Baylor doctor. Compare Dkt. No. 80 at 42 with Dkt. No. 102 at 33–34.

                 5. Dr. Maria Rosana Ponisio

        Dr. Ponisio is a radiologist retained by the government. The government has stated

that it will not call Dr. Ponisio at the competency hearing, and has not filed her expert

reports with the Court. In total, the government produced four reports prepared by

Dr. Ponisio to the defense. If called by the defense, Dr. Ponisio will testify as to three of

those reports. 9

        In her September 1, 2021 report, Dr. Ponisio stated that, at the request of the

government, she reviewed Mr. Brockman’s July 28, 2021 amyloid PET scan and fused it

with the July 30, 2021 brain MRI. Dr. Ponisio concluded that “this is a positive amyloid-

PET study, indicating moderate to frequent beta-amyloid neuritic plaques.” Dr. Ponisio

September 1, 2021 Report at 2.


        9
          Dr. Ponisio submitted a fourth report on October 25, 2021, which was largely based on the three reports she
submitted in September.



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        In her September 2, 2021 report, Dr. Ponisio stated that, at the request of the

government, she reviewed Mr. Brockman’s March 12, 2021 FDG-PET scan and fused it

with the July 30, 20201 brain MRI. Dr. Ponisio concluded that “the described pattern of

hypometabolism can represent early Alzheimer’s dementia in the correct clinical setting.”

Dr. Ponisio September 2, 2021 Report at 2.

        In her September 5, 2021 report, Dr. Ponisio stated that, at the request of the

government, she reviewed Mr. Brockman’s August 24, 2021 FDG-PET scan and fused it

with the July 30, 2021 brain MRI. She concluded that this second FDG-PET scan also

showed indicia of Alzheimer’s dementia, adding “when compared to the prior examination,

there is a mildly progressive decrease of metabolic activity in the compromised brain

areas.” Dr. Ponisio September 5, 2021 Report at 2.

        In her October 25, 2021 report, Dr. Ponisio stated that, at the request of the

government, she reviewed Mr. Brockman’s March 12, 2021 FDG-PET scan, July 28, 2021

amyloid PET scan, August 24, 2021 FDG-PET scan and fused the PET images with the

July 30, 2021 MRI examination. She concluded that “given the pattern of metabolic

abnormalities seen on FDG/PET-CT and amyloid scans, the findings are most consistent

with early dementia in the correct clinical setting.” Dr. Ponisio October 25, 2021 Report

at 3.

        In other words, Dr. Ponisio opined that neuroimaging studies of Mr. Brockman’s

brain are “most consistent” with a diagnosis of dementia.




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              6. Scott Polus

       Mr. Polus is the Regional Vice President of Forensic Services for Xact Data

Discovery (XDD), and a Certified Computer Examiner through the International Society

of Forensic Computer Examiners. Mr. Polus has training and experience in performing

various digital forensic analyses.

       At the government’s request, Mr. Brockman produced personal documents

concerning his medical treatment. Included in these records were fifteen documents

consisting of typed notes, with dates ranging from 2004 through 2018, that appear on their

face to be annual summaries of overall health, which included descriptions of

Mr. Brockman’s increasing cognitive challenges.

       Dr. Dietz repeatedly speculated in his June 21, 2021 report that these notes were

recently fabricated. Dkt. No. 80 at 6. In response, the defense produced these fifteen

documents to the government in an electronic form that included the metadata.

       Mr. Polus analyzed the computer metadata for the fifteen documents in issue.

Mr. Polus Report, Dkt. No. 97 at 1. Mr. Polus will explain that the export of the underlying

metadata for these documents shows that each document has a filename that matches or

closely matches the date the document was created, and that no further modifications were

made to these documents after the day they were created. Dkt. No. 97 at 3-4. In other

words, the documents were in fact created on the dates indicated in the text of the

documents, and not at some more recent date, as Dr. Dietz insinuates.




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       B.     Mr. Brockman’s Treating Physicians

              1. Dr. James L. Pool

       Dr. James L. Pool holds the James L. Pool Presidential Endowed Chair in Clinical

Pharmacology at Baylor College of Medicine.         He is Mr. Brockman’s primary care

physician. The government has also listed him as a potential witness. Dr. Pool will testify

as to Mr. Brockman’s diagnosis of Parkinson’s disease and dementia, his medical history

over the past three years, and his course of treatment, including the impact of his dementia

on his daily functioning and mental processes.

              2. Dr. Eugene Lai

       Dr. Eugene Lai is the Director of Neurodegenerative Diseases Clinic at Houston

Methodist Hospital. He is Mr. Brockman’s treating physician for Parkinson’s disease.

Dr. Lai was originally listed by both the government and the defense as a potential witness,

but no longer appears on the government’s witness list.         Dr. Lai will testify as to

Mr. Brockman’s diagnosis of Parkinson’s disease and dementia, and the impact of his

dementia on his daily functioning and mental processes.

       C.     Defense Counsel

       Defense counsel were interviewed as collateral witnesses by Dr. Denney, as well as

by Dr. Guilmette and Dr. Agronin. Defense counsel will address how, consistent with the

medical findings, in counsel’s experience, Mr. Brockman cannot relate relevant facts,

names and events regarding the complex allegations in the Indictment; he cannot review




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and evaluate documents bearing on the case; 10 he cannot retain important information or

follow and recognize discrepancies; he cannot weigh the consequences of exercising his

constitutional rights; he repeatedly provides the same irrelevant information that has no

bearing on the case; and, significantly, his diminished cognitive capability has progressed

substantially over time. Defense counsel will also describe how Mr. Brockman first raised

his diagnosis of dementia in an effort to explain to counsel that he may need information

repeated or presented more slowly, and that at no time did he suggest that his medical issues

may be used to avoid prosecution.

        D.       Mr. Brockman’s Caregiver

        Frank Gutierrez has provided home healthcare services to Mr. Brockman since

April 2021. Mr. Gutierrez will testify to the support that he provides for Mr. Brockman,

and the impact of Mr. Brockman’s cognitive limitations in his daily activities.

        E.       Mr. Brockman’s Friends and Associates

                 1. Reverend Dr. James L. Jackson

        Reverend Jim Jackson first met Mr. Brockman when he was a congregant of

Chapelwood United Methodist Church, where Reverend Jackson served as senior pastor

for twenty years. Reverend Jackson subsequently became a counselor at the Reynolds and

Reynolds Company (“R&R”), where Mr. Brockman worked as president until June 2020

and chair and chief executive officer until November 2020. Today Reverend Jackson

serves as a board director of R&R and its parent companies. If called, Reverend Jackson


        10
           The government has estimated that it will produce 1.1 terabytes (the equivalent of 22 million pages) of
discovery. Dkt. 1-3 at 59.



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will testify to his decades-long relationship with Mr. Brockman, his observations of

Mr. Brockman in business and personal settings, and the current impact of Mr. Brockman’s

cognitive limitations.

               2. Dr. Steven Slade

        Dr. Steven Slade is an ophthalmologist. He was introduced to Mr. Brockman by

Dorothy Brockman, who was his patient and who also co-authored a book with Dr. Slade.

Dr. Slade is a close personal friend of Mr. Brockman. Dr. Slade will testify as to his

observations of Mr. Brockman in social and personal settings, and the pervasive impact of

Mr. Brockman’s dementia on his everyday activities and his ability to interact with family

and friends.

II.     Defense Summary of Anticipated Government Position

        From its first filing concerning the issue of Mr. Brockman’s competency through its

recent statements before the Court, the government has consistently taken the position that

Mr. Brockman is faking his dementia. See, e.g., Dkt. No. 1-3 (N.D. Cal. Dkt. No. 69 at 9-

11); Dkt. No. 113 at 11-13; Dkt. No. 184 at 27 (Nov. 1, 2021 Hearing Transcript). The

government has also postulated that the doctors who first diagnosed Mr. Brockman with

dementia in 2019 were biased by his relationship with Baylor Medical College. See, e.g.,

Dkt. No. 1-3 (N.D. Cal. Dkt. No. 69 at 7-8).




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        A.      Expert Witnesses to be Called by Government

        The government has listed three expert medical witnesses: Drs. Dietz, Denney, and

Darby. 11 All three filed expert reports on June 21, 2021, which made clear that these three

doctors consulted with and relied on one another’s findings. See Dkt. No. 78 at 1, Dkt. No.

79 at 3; Dkt. No. 80 at 1. 12 The government has also made clear that Drs. Dietz, Denney,

and Darby coordinated with the prosecution team and acted as partisan experts. Dkt. No.

89 at 8.

        All three doctors filed supplemental reports on October 30, 2021. Dkt. Nos. 176,

177, and 179. Although counsel for the government stated during a status conference with

the Court on November 1 that the government did not expect to file further supplemental

reports, Dr. Dietz nonetheless provided a second supplemental report three days later. Dkt.

No. 185.

        Mr. Brockman has cooperated fully and in every respect with all examinations

requested by the government.               Dr. Darby examined Mr. Brockman in May for

approximately three hours, and Drs. Dietz and Denney conducted joint interviews, and

Dr. Denney also conducted certain testing, over a three-day period in May, and then again

on two days in October, for a stunning total of approximately 32 hours. Dr. Darby also

interviewed Mr. Brockman’s wife, Dorothy, and Dr. Denney interviewed defense counsel.

At the request of these doctors, Mr. Brockman underwent two FDG-PET scans, an EEG,


        11
          Upon inquiry by defense counsel during the November 1, 2021 status conference, the government
committed to calling Drs. Dietz and Darby as witnesses.
       12
          Dr. Dietz’s 45-page report as filed with the Court is not paginated. The defense has provided the
government with a paginated version of this report for use at the hearing.



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two overnight sleep studies, a urine sample, and a blood draw. Extensive medical records

were provided to the government.

              1. Dr. Dietz

       In his June 21 report, Dr. Dietz acknowledged the objective, physical evidence in a

March 12, 2021 FDG-PET scan conducted at the government’s request, showed findings

“‘suggestive of early neurodegenerative disease, either early Alzheimer’s disease or

dementia with Lewy bodies (Parkinson’s disease with dementia),’” but then dismissed this

interpretation as “biased by the interpreter’s foreknowledge of prior diagnoses of dementia,

a phenomenon known as confirmation bias.” Dkt. No. 80 at 28. He concluded instead that

Mr. Brockman is malingering. Id. at 42-45. Dr. Dietz does not explain why an objective

imaging study commissioned by the government experts should be discarded for

“confirmation bias” in favor of the defense, nor how a “malingerer” could have faked these

imaging results.

       Next, in his first supplemental expert report on October 30, Dr. Dietz stated that:

       The newly received information does . . . throw into question
       Mr. Brockman’s current cognitive abilities and those aspects of competence
       to stand trial that require adequate short-term memory, particularly in light
       of his more recent episodes of delirium, surgery under general anesthesia,
       and new evidence of brain imaging consistent with early Alzheimer’s
       disease.

Dkt. No. 176 at 18 (emphasis in original). Dr. Dietz acknowledged that the “most objective

evidence of Mr. Brockman’s brain functioning is provided by brain imaging studies,”

which are most consistent with Alzheimer’s dementia.           Id. at 18.    Dr. Dietz then

acknowledged the statements by Mr. Brockman’s lawyers, doctors, family, and friends, as



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well as his performance in neuropsychological tests, stating: “If this performance were a

reliable and valid indicator of his cognitive capacity, I would join the defense experts in

considering him too demented to assist counsel in the course of trial, and I would agree

that the prognosis is poor.” Id. (emphasis in original). Dr. Dietz conceded that, for

Mr. Brockman to exaggerate to this extent “would no doubt be a Herculean task,” but

contended that Mr. Brockman is nonetheless capable of doing so. Id. at 18-19. In the

central conclusion to his first supplemental report, Dr. Dietz stated: “To my dismay, I am

unable to distinguish between these possibilities but remain hopeful that the reports

scheduled to be exchanged today will lend clarity.” Id. at 20.

       Five days later, in his third (i.e. “second supplemental”) report, Dr. Dietz found that

Mr. Brockman “most likely suffers from mild cognitive impairment or mild dementia,” but

reverted to his contention that Mr. Brockman is nonetheless malingering and, in Dr. Dietz’s

view, Mr. Brockman has “sufficient present ability” to consult with his attorneys and to

understand the proceedings. Dkt. No. 185 at 3.

              2. Dr. Denney

       Dr. Denney’s initial and supplement reports contend that Mr. Brockman “may have

a mild form of mental disease or defect,” but that in Dr. Denney’s view he is malingering

as to the extent of his cognitive impairment. Dkt. No. 179 at 20; see Dkt. No. 79 at 38.

              3. Dr. Darby

       Dr. Darby’s supplemental report acknowledges that “[i]t is reasonable given his

hospitalizations for delirium, natural disease course, and neuroimaging that Mr. Brockman

has progressed to the dementia stage.” Dkt. No. 177 at 9; see also id. at 11 (“[I]t is plausible


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that Mr. Brockman would have progressed from the MCI to dementia stage.”). Despite

this finding of dementia, Dr. Darby stated he is “unable to determine whether

[Mr. Brockman’s] cognitive impairment is severe enough to make him incompetent to

assist in his defense.” Dkt. No. 177 at 11. Dr. Darby’s report noted Mr. Brockman’s

vulnerability to future cognitive setbacks, adding: “Mr. Brockman is at increased risk for

progression over time due to his history of delirium. He is also at risk for future episodes

of urinary infections and delirium.” Id.

       B.      Other Proposed Government Witnesses

       It is the defense’s position that, with one exception of Dr. Pool, none of the other

witnesses listed by the government can testify as to Mr. Brockman’s current competency

to assist in his defense.

               1. Dr. James L. Pool

       Dr. Pool is Mr. Brockman’s primary care physician. The defense plans to call

Dr. Pool if the government elects not to do so.

               2. Dr. Stuart C. Yudofsky

       Dr. Yudofsky’s attorney has advised Dr. Yudofsky to assert his fifth amendment

privilege not to testify. The defense disputes the government’s assertions concerning

Dr. Yudofsky. To the extent that the Court may view his testimony as relevant, the defense

would prefer that Dr. Yudofsky be granted immunity so that he may testify fully at the

hearing.




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              3. Evatt Tamine and John Warnken-Brill

       During the October 25 status conference before the Court, the government proffered

that Evatt Tamine, who is Individual One in the Indictment, will be called to support the

government’s view as to when Mr. Brockman knew about the existence of an investigation;

Mr. Brockman’s relationship with Dr. Yudofsky; Mr. Brockman’s motivation to malinger

and to create a paper trial of issues relating to his mental competency; and Mr. Brockman’s

“feelings about the IRS.” (Oct. 25, 2021 Hearing Transcript at 10-13.) The government

has represented that John Warnken-Brill may address some or all of these same issues, but

will be called as a witness only if Mr. Tamine is unable to enter the United States. Id. at

13. Neither witness has had any contact with Mr. Brockman in over three years.

              4. Craig Moss and Robert Burnett

       Craig Moss is the former chief financial officer of R&R, and Robert Burnett

currently holds that position. Mr. Brockman stepped down as the president of R&R in June

2020, and fully retired as the chair and chief executive officer in November 2020.

              5. Michael Nemelka and Dana Abrahamsen

       Michael Nemelka is an attorney who conducted a deposition of Mr. Brockman in

January 2019, and Dana Abrahamsen is an attorney who conducted a deposition of

Mr. Brockman in September 2019.

              6. Peter Dickerman

      Peter Dickerman is an Internal Revenue Service special agent.           To the best

knowledge of the defense, he has had no personal contact with Mr. Brockman.




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              7.     Dr. Scott Lisse

       The government identified Dr. Scott Lisse as a potential witness for the first time

when it filed the United States’ Witness List for Competency Hearing, Dkt. No. 195, five

days before the commencement of the competency hearing.


                                            CONCLUSION

       As the evidence at the competency hearing will show, Mr. Brockman has dementia,

a condition that is permanent, progressive and incurable. He is incapable of understanding

the charges and assisting properly with his defense, and never will be competent to do so.

He is legally incompetent to stand trial.



Dated: November 11, 2021                        /s/ Jason S. Varnado
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                           CERTIFICATE OF SERVICE

      I certify that on this 11th day of November, 2021, I electronically served this

document on all counsel of record.



                                          /s/ Jason S. Varnado
                                          Jason S. Varnado




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